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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


UNITED ST A TES OF AMERICA
                                              Criminal Action No.
         V.
                                              1:14-CR-227-TCB-RGV
DAVID LEE


                                      ORDER

   This matter is before the Court for consideration of the Government's motion
for leave to dismiss the Indictment as to David Lee pursuant to Fed. R. Crim. P.
48(a).
   The motion is GRANTED and the Indictment, only as to David Lee, is
DISMISSED.


   So ordered this   (   (ft   day of June, 2018.




                                       TIMOTHY C. BATTEN, SR.
                                       UNITED ST ATES DISTRICT JUDGE

Prepared by
Christopher C. Bly, Assistant United States Attorney
(404) 581-6000
